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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

INTERFOCUS INC., A California
Corporation,
                                                        Case No.: 1:22-cv-02259
                 Plaintiff,
                                                        Honorable Steven C. Seeger
v.

The Defendants Identified in SCHEDULE
A,

                 Defendant.



                                RESPONSE TO DOCKET NO. 23

          Plaintiff Interfocus Inc. responds to this Court’s Order to show cause why the caption

should not be changed to reflect the names of the Defendants. The purpose of placing the names

of the Defendants under seal was to prevent the Defendants from secreting assets to prevent the

satisfaction of a judgment in this case. See Dkt. 10 at 11-14; Dkt. 17, passim. Plaintiff does not

object to changing the caption on or after October 17, 2022, for the reasons set forth below.

          Plaintiff served Defendants on October 6, 2022 in accordance with paragraph 5 of the

Sealed Temporary Restraining Order (“Order”) issued by this Court on October 4, 2022. Dkt. 22

at 5, ¶ 5. Plaintiff gave notice of this Order to all Third Party Payment Processors by October 7,

2022. Dkt. 22 at 4, ¶ 3. The Order requires Third Party Payment Processors to “locate all

accounts and funds connected to Defendants” and “restrain and enjoin any such accounts or

funds from transferring or disposing of any money or other of Defendants’ assets until further

ordered by this Court” by no later than 10 days after the date of receipt of the Order. Dkt. 22 at

4, ¶ 3.
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       Plaintiff does not object to changing the caption of this case to reflect the names of the

Defendants on or after October 17th, which is ten days from the date on which all of the Third-

Party Payment Processors were given notice of this Court’s Order of October 4, 2022, pursuant

to Dkt. 22 at 4. This will give the Third Party Payment Processors the 10 days to freeze

Defendants’ assets, as set forth in the Order at page 4, ¶ 3, before the caption is publicly changed.



Date: October 7, 2022                                Respectfully submitted,

                                                     RIMON, P.C.


                                                     /s/ Eric C. Cohen

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                                                     Attorneys for Plaintiff, INTERFOCUS INC.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2022, this document was filed with the Clerk of the

Court using CM/ECF, which will send notification of the filing to all attorneys of record in this

case; and a copy of this document was served on Defendants by adding it to the published link

in the manner prescribed by the Court’s October 4, 2022 Order, Dkt. 22, ¶ 5.



                                             /s/ Eric C. Cohen
                                             Eric C. Cohen




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